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                          Exhibit 95

               November 7, 2022 Notice
                Delivery Confirmation
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